                      1N THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTII CAROLJNA
                                WESTERN DMSION
                                 No. 5:18-CR-S20-D



UNITED STATES OF AMERICA,                    )
                                             )
                  v.                         )           ORDER
                                             )
QUENCHELLE HOUPE,                            )
                                             )
                           Defendant         )


       The United States shall file a response to defendant's pending motion [D.E. 132]. The

response is due not later than October 22, 2021.

       SO ORDERED. This L'l day of September, 2021.




                                                     J     sc.DEVERm
                                                     United States District Judge




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